Case 2:16-cv-00020-TR Document 47 Filed 03/24/17 Page 1of1

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Robin Alpert a/k/a Robin Gordon: CIVIL ACTION
Vv.

Abington Pain Medicine P.C., et al. NO. 16-20

PRAECIPE FOR WRIT OF EXECUTION

TO THE CLERK:

ISSUE WRIT OF EXECUTION in the above matter, directed to the United States Marshal for the
Eastern District of Pennsylvania, and against

and against Citibank Texas, National Association, The Plaza at Willow Grove 2500 Moreland Rd.
(Name and Address of Garnishee) , Willow Grove, PA 19090

garnishee, and index this writ against*

and against

as garnishee, as a lis pendens against

real property of the judgment debtor in the name of the garnishee, as follows:

Amount Due 4 299,762.30
Interest From 10/26/16 § 0.00

Attorney for
Robin Alpert a/k/a Robin Gordon

Date: 3h) / Z

* Applicable to real estate only [Rule 3104(c} Pa. R.C.P.).
Civ637 (7/00)

